Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 1 of 22




                  EXHIBIT 13
Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 2 of 22




                                                                 1
 1                  UNITED STATES DISTRICT COURT

 2      NORTHERN DISTRICT OF CALIFORNIA - SAN JOSE DIVISION

 3     - - - - - - - - - - - - - - - - -X

 4     APPLE INC., a California           :

 5     Corporation,                       :

 6                    Plaintiff,          :

 7     v.                                 :

 8     SAMSUNG ELECTRONICS CO., LTD., a :

 9     Korean corporation; SAMSUNG        :Civil Action No.

10     ELECTRONICS AMERICA, INC., a New :12-cv-00630-LHK(PSG)

11     York corporation; and SAMSUNG      :

12     TELECOMMUNICATIONS AMERICA, LLC, :

13     A Delaware limited liability       :

14     Company,                           :

15                  Defendants.           :

16     - - - - - - - - - - - - - - - - -X

17     (Caption continued on next page)

18
19            Videotaped Deposition of NORBERT FUHR

20                      London, United Kingdom

21                       Friday, July 12, 2013

22                                9:00 a.m.

23
24     Job No.: 40426                            Pages 1 - 212

25     Reported by: Georgina Ford, ACR, CLR, MAVSTTR, MBIVR
Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 3 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                 72
 1           A.    No.                                                11:02:13
 2           Q.    You were in Dortmund between 1991 and 2002?        11:02:16
 3           A.    Mm-hm.                                             11:02:22
 4           Q.    In that time period, did you do any research       11:02:25
 5     regarding WAIS?                                                11:02:29
 6           A.    We started around -- I think it was in early       11:02:37
 7     '93, maybe also late '92, that we started working on           11:02:45
 8     WAIS and we got the FreeWAIS system installed on our           11:02:53
 9     machines.    That was done by Ulrich Pfeiffer and              11:03:06
10     I looked closer at it and saw that, yes, it had many           11:03:09
11     deficiencies and so I came up with the idea of                 11:03:15
12     extending it such that it would become a usable system         11:03:21
13     that could be really used for standard document                11:03:26
14     retrieval.                                                     11:03:32
15           Q.    What were those deficiencies that you              11:03:34
16     noticed?                                                       11:03:36
17           A.    Yes, it just -- mainly, that it just               11:03:37
18     regarded a document as just as one text block and you          11:03:43
19     could not have, yes -- then the features we added              11:03:51
20     like, for example, fields.                                     11:03:57
21           Q.    Were there any other deficiencies that you         11:04:06
22     noticed of FreeWAIS-sf -- strike that.                         11:04:08
23                 Are there any other deficiencies you noticed       11:04:15
24     of FreeWAIS that you would install?                            11:04:17
25           A.    So it was the text block and you could only        11:04:23

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 4 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                73
 1     do text search and I think it even lacked stemming but        11:04:26
 2     I'm not so sure about that.                                   11:04:32
 3           Q.    What is stemming?                                 11:04:35
 4           A.    That is what reduced the word stem, like          11:04:36
 5     "computers" to "compute", reduce to "compute" and this        11:04:43
 6     was -- stemming is the standard method in information         11:04:46
 7     retrieval and it was -- I think it was not contained          11:04:49
 8     in the FreeWAIS system but in experimental systems            11:05:00
 9     this was standard.                                            11:05:05
10           Q.    Did you add stemming to FreeWAIS-sf?              11:05:08
11           A.    Yes, at least our version.   FreeWAIS-sf          11:05:12
12     contained stemming, yes.                                      11:05:18
13           Q.    What was the first version of FreeWAIS-sf         11:05:22
14     that contained stemming?                                      11:05:26
15           A.    The version in '94 that we publicly               11:05:29
16     announced had all our features integrated, including          11:05:35
17     stemming.                                                     11:05:43
18           Q.    How was stemming implemented in the 1994          11:05:47
19     version of FreeWAIS-sf?                                       11:05:49
20                 MR. JAFFE:   Objection: vague.                    11:05:55
21                 THE WITNESS:   I don't know exactly but there     11:05:56
22     were standard algorithms around and I assume it just          11:06:00
23     implemented this algorithm.                                   11:06:08
24     BY MR. FURMAN:                                                11:06:29
25           Q.    So you explained stemming as reducing the         11:06:30

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 5 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                 74
 1     word "computer", for example, to "compute"?                    11:06:34
 2           A.    Yes, especially plurals or where you have          11:06:36
 3     verbs like going, goes and so to go.    That's basically       11:06:40
 4     the idea.                                                      11:06:46
 5           Q.    So in the implementation of stemming in the        11:06:46
 6     1994 version of FreeWAIS-sf, did a user need to                11:06:48
 7     indicate that they were looking for a stemmed version          11:06:55
 8     of a queried word or did the system always search for          11:07:00
 9     the root of a word when the query was sent?                    11:07:04
10           A.    That was a matter of the configuration of          11:07:10
11     the system.   That's how the person who set up the             11:07:13
12     database could specify which methods to apply and also         11:07:19
13     which methods the user could specify in his query.             11:07:30
14     So, in principle, it would have been possible to               11:07:38
15     search for the text both with stemming and without             11:07:45
16     stemming by specifying that in your query.                     11:07:49
17                 So it could be either the choice of the            11:08:05
18     database administrator that he set it fixed or he              11:08:07
19     could also delegate it to the user so that the user            11:08:10
20     could have a choice.                                           11:08:14
21           Q.    When a user submitted a query to the               11:08:19
22     FreeWAIS-sf system available in 1994 that was the word         11:08:24
23     "compute" with an asterisk at the end, is that an              11:08:30
24     example of using the stemming system?                          11:08:35
25           A.    No, that would be called wildcard searching        11:08:37

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 6 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                75
 1     and I think that was also a feature that was available        11:08:41
 2     but the default was that the user just enters, for            11:08:48
 3     example, "computer" but internally the system would           11:08:52
 4     search for all words with the root "compute" and would        11:08:56
 5     find, for example, the word "computing".                      11:09:08
 6           Q.   You see -- I apologize.                            11:09:11
 7                Is it accurate to say that "compute" --            11:09:13
 8     strike that.                                                  11:09:17
 9                In the context of stemming, is it accurate         11:09:18
10     to say that the word "compute" would be the root of           11:09:20
11     the word "computer", "computing"; is that an accurate         11:09:22
12     use of the nomenclature?                                      11:09:27
13           A.   Yes.                                               11:09:29
14           Q.   How did the FreeWAIS-sf version in 1994            11:09:32
15     determine the roots for all of the words in a                 11:09:37
16     particular database?                                          11:09:40
17           A.   There was standard algorithms around and the       11:09:43
18     standard -- the most popular algorithm I remember was         11:09:47
19     the so-called Porter algorithm that was used by most          11:09:51
20     experimental systems at that time.                            11:09:56
21           Q.   Was that algorithm run at indexing time or         11:10:01
22     at query time?                                                11:10:04
23           A.   For the documents, it was run at indexing          11:10:06
24     time and, of course, for the submitted query you also         11:10:10
25     have to apply it to the query in order to be able to          11:10:14

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 7 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                76
 1     find all the variants of a word.                              11:10:20
 2           Q.   So when a database was indexed using the           11:10:33
 3     version of FreeWAIS-sf available in 1994, one thing           11:10:36
 4     that would occur would be extracting or somehow               11:10:41
 5     analyzing the words in the database and storing all           11:10:47
 6     the various stemming information in that index,               11:10:51
 7     correct?                                                      11:11:00
 8           A.   Yes.                                               11:11:00
 9           Q.   Going back to what we were discussing              11:11:00
10     a couple of minutes ago, you testified that                   11:11:02
11     Mr. Pfeiffer had installed a version of FreeWAIS and          11:11:06
12     that you had noticed certain deficiencies.                    11:11:09
13                You listed three deficiencies: one was             11:11:12
14     regarding the document so in text block; (2) that             11:11:15
15     there was only a text search, and (3) that it may have        11:11:21
16     lacked stemming.   We just discussed stemming.                11:11:24
17                What did you mean by it only did text              11:11:27
18     searching?                                                    11:11:29
19           A.   Yes, for example, when you would want to           11:11:30
20     search for time periods you were looking for documents        11:11:33
21     before the year 2000 or so, then this was not possible        11:11:37
22     or it would have been possible only by enumerating in         11:11:43
23     your query all the years separately because internally        11:11:48
24     it would just compare the strings and would not know          11:11:52
25     that 1999 is before 2000.                                     11:11:55

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 8 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                77
 1           Q.   And how did FreeWAIS -- strike that.               11:12:01
 2                What was the first version of FreeWAIS-sf          11:12:04
 3     that overcame this deficiency in FreeWAIS?                    11:12:06
 4           A.   I -- yes, it was already the 1994 version.         11:12:17
 5     That already had this feature.                                11:12:26
 6           Q.   And how did FreeWAIS-sf -- strike that.            11:12:27
 7                How did the 1994 version of FreeWAIS-sf            11:12:30
 8     overcome this deficiency of only doing text searching         11:12:33
 9     that you found in FreeWAIS?                                   11:12:38
10           A.   Yes, we just added a new data types or             11:12:40
11     numbers and treated them separately .so we set up             11:12:45
12     specific data structures for being able to perform            11:12:50
13     these kind of searches.                                       11:12:55
14           Q.   Were there any other data types, besides the       11:12:57
15     date, that you added in FreeWAIS-sf in 1994?                  11:13:00
16           A.   Additional data types, really, but for we          11:13:11
17     stented the concept of data types so that you can have        11:13:15
18     several such predicates and, yes, so what we included         11:13:22
19     was also phonetic search for text and whether we              11:13:29
20     regard this as a new data type or as just a new search        11:13:35
21     predicate for text, well, that's ...                          11:13:40
22           Q.   So what's the search predicate?                    11:13:43
23           A.   It just means that in principle you specify        11:13:45
24     one condition and in its full form you have                   11:13:53
25     a comparison value, a predicate like larger or                11:14:02

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 9 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                 82
 1           A.    Yes.                                               11:20:16
 2           Q.    Did you or anyone in your group acquire            11:20:16
 3     a copy of the source code for FreeWAIS?                        11:20:20
 4           A.    What do you mean by "acquire"?                     11:20:26
 5           Q.    Download, receive on a CD or otherwise gain        11:20:29
 6     into your possession a copy of the source code for             11:20:35
 7     FreeWAIS?                                                      11:20:39
 8           A.    Yes.   As I said before, Ulrich Pfeiffer he        11:20:39
 9     acquired the source code.                                      11:20:44
10           Q.    I see.   I misunderstood.   I was under the        11:20:48
11     impression that he had downloaded an executable and I          11:20:50
12     was asking about the source code.                              11:20:53
13           A.    Oh no.   No.   Well, at that time it was           11:20:55
14     mainly through source code because the problem was             11:21:01
15     that there were so many variants of operating systems          11:21:04
16     and providing executable would have meant big effort           11:21:08
17     for the one providing it because they would have to            11:21:19
18     provide executables for a big variety of operating             11:21:22
19     systems.    So the standard method was providing the           11:21:26
20     source code.                                                   11:21:29
21           Q.    I understand.                                      11:21:29
22                 Did Mr. Pfeiffer or anyone else in your            11:21:30
23     group have to make modifications to the FreeWAIS               11:21:32
24     source code to get it to run on the systems at your            11:21:35
25     group?                                                         11:21:38

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 10 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                 83
 1            A.   I don't know but it's very likely.    Well, as     11:21:39
 2     part of -- the installation was not as straightforward         11:21:45
 3     as it would be today.                                          11:21:48
 4                 MR. JAFFE:   Again, I'll just object to --         11:21:51
 5     that it calls -- the question calls for speculation.           11:21:52
 6     BY MR. FURMAN:                                                 11:21:57
 7            Q.   Was FreeWAIS-sf based -- strike that.              11:21:57
 8                 Did the FreeWAIS-sf software that your group       11:22:03
 9     developed use the source code for FreeWAIS?                    11:22:07
10            A.   Yes.                                               11:22:12
11            Q.   The source code for FreeWAIS, did it form          11:22:15
12     the basis of the source code for FreeWAIS-sf?                  11:22:17
13            A.   Yes.                                               11:22:22
14            Q.   After Mr. Pfeiffer downloaded, compiled and        11:22:24
15     installed FreeWAIS, did you or anyone in your group to         11:22:29
16     your knowledge have any discussions with people from           11:22:33
17     CNIDR about the modifications that you were making to          11:22:36
18     FreeWAIS?                                                      11:22:39
19            A.   I don't remember.   But our understanding was      11:22:42
20     that, yes, this was just mainly finished from their            11:22:47
21     side but no big development was going on on their side         11:22:51
22     after they released the initial version.                       11:22:57
23            Q.   Did you need to ask their permission to make       11:22:59
24     modifications to their source code?                            11:23:02
25            A.   No, this was -- as the name indicated, this        11:23:05

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 11 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                 84
 1     was free code or open source.                                  11:23:07
 2            Q.   Did you need to submit any changes you made        11:23:11
 3     to FreeWAIS back to CNIDR?                                     11:23:15
 4            A.   I don't know and we would have done that           11:23:25
 5     only if we found any bugs in the system as provided            11:23:28
 6     but certainly our focus was on developing our own              11:23:34
 7     version independent from their version but building            11:23:38
 8     upon it.                                                       11:23:43
 9            Q.   You're not aware of any obligation that you        11:23:45
10     or anyone in your group had to submit modifications            11:23:47
11     back to CNIDR?                                                 11:23:51
12            A.   No, there were no obligations at all               11:23:52
13     involved.                                                      11:23:55
14            Q.   But you may have done so in the case that          11:23:55
15     you found a bug?                                               11:23:57
16            A.   Yes.                                               11:23:58
17            Q.   But the FreeWAIS-sf software that you              11:23:59
18     developed, you were under no obligation or felt no             11:24:03
19     responsibility to notify or send those changes back to         11:24:05
20     CNIDR?                                                         11:24:08
21            A.   No, we just made it public and then informed       11:24:12
22     them also that we were developing a much extended              11:24:15
23     version.                                                       11:24:23
24            Q.   Were you under any obligation to make the          11:24:24
25     version that you were creating public?                         11:24:27

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 12 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                   85
 1            A.   I don't know if there was at that time               11:24:35
 2     already something like open source licenses.      I don't        11:24:37
 3     know if there was something like that involved at that           11:24:41
 4     time but, for us, it was quite clear that we wanted to           11:24:45
 5     make this also open source.                                      11:24:49
 6                 So it is more the question, voila, if we use         11:24:51
 7     this code for developing a new version this had to be            11:24:55
 8     open source or not.      I don't know if this would have         11:24:59
 9     been an obligation at that time.                                 11:25:02
10            Q.   In the situation where you had no intention          11:25:05
11     of releasing an executable version of FreeWAIS-sf, do            11:25:08
12     you know if you were under any obligation to publish             11:25:13
13     your modified source code?                                       11:25:15
14                 MR. JAFFE:   Objection: vague; calls for             11:25:18
15     a hypothetical; incomplete hypothetical.                         11:25:21
16                 THE WITNESS:   As I said, I don't know about         11:25:26
17     if there were any licenses attached with the original            11:25:27
18     FreeWAIS that would have put such obligations upon us.           11:25:30
19     BY MR. FURMAN:                                                   11:25:42
20            Q.   When did the FreeWAIS-sf project end?                11:25:43
21            A.   Well, a major break point was when Ulrich            11:25:48
22     Pfeiffer left our group in '96 and then, yes, he did             11:25:55
23     some bug fixing and then his successor in this                   11:26:05
24     position was Norbert Govert but he was mainly involved           11:26:09
25     with the SFgate.   It may be that they together did              11:26:19

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 13 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                               194
 1     testified in response to your counsel's questions that         14:45:35
 2     the thesis was made publicly available in the library?         14:45:39
 3            A.   Yes.                                               14:45:43
 4            Q.   Do you know if the thesis was made publicly        14:45:44
 5     available in some type of on-line searchable database?         14:45:46
 6            A.   I don't know.                                      14:45:51
 7            Q.   Do you know if it was made available by any        14:45:52
 8     type of on-line service?                                       14:45:54
 9            A.   I don't know.                                      14:45:58
10            Q.   Do you know if the library indexed the             14:45:58
11     thesis and provided it to any type of bibliographical          14:46:01
12     service?                                                       14:46:08
13                 MR. JAFFE:   Objection: asked and answered.        14:46:09
14                 THE WITNESS:    There certainly was some kind      14:46:11
15     of index of the thesis available but probably only on          14:46:12
16     paper in the library.                                          14:46:21
17     BY MR. FURMAN:                                                 14:46:24
18            Q.   Do you know if a copy of the thesis was            14:46:25
19     available anywhere else in the world, except for in            14:46:28
20     the library at the University of Dortmund?                     14:46:30
21            A.   I don't know.                                      14:46:33
22                 MR. JAFFE:   Objection: calls for                  14:46:34
23     speculation.                                                   14:46:34
24     BY MR. FURMAN:                                                 14:46:35
25            Q.   Do you know if anyone in practice had ever         14:46:37

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 14 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                195
 1     looked up the thesis or ever accessed the thesis at            14:46:40
 2     the University of Dortmund?                                    14:46:43
 3            A.   I don't know.                                      14:46:45
 4            Q.   You can put exhibit 4 aside.                       14:46:48
 5                 If you pick up what your counsel has marked        14:46:51
 6     as exhibit 3, you testified that this looked like              14:46:53
 7     a screenshot from an FTP server; is that correct?              14:46:58
 8            A.   Yes.                                               14:47:01
 9            Q.   Did you take this screenshot?                      14:47:01
10            A.   I'm not sure but if this is my screenshot          14:47:09
11     of -- but I looked at it also some days ago and this           14:47:13
12     is roughly the dates and so they are the same.                 14:47:23
13            Q.   Do you have an understanding of how a copy         14:47:29
14     of your screenshot wound up in Samsung's files?                14:47:31
15                 MR. JAFFE:   Objection to the                      14:47:35
16     characterization "Samsung files".                              14:47:35
17                 THE WITNESS:    Well -- so they found this         14:47:40
18     directory when they were searching for the source and          14:47:45
19     we talked about it over the phone and especially about         14:47:48
20     the meaning of the dates was.                                  14:47:53
21     BY MR. FURMAN:                                                 14:47:55
22            Q.   And when you say "they", who are you               14:47:56
23     referring to?                                                  14:47:58
24            A.   The lawyers from Quinn Emanuel.                    14:47:59
25            Q.   Do you have an understanding as to why             14:48:01

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 15 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                               196
 1     a screenshot you made was produced with a Samsung              14:48:02
 2     identification number on the bottom and not a number           14:48:07
 3     identifying it as coming from your own files?                  14:48:10
 4                 MR. JAFFE:   Objection: mischaracterizes the       14:48:12
 5     witness's previous testimony.                                  14:48:14
 6                 THE WITNESS:   No.   As I said, I don't know       14:48:17
 7     if I ever made the screenshot myself.     We just -- over      14:48:20
 8     the phone, we talked about this URL and so we made             14:48:29
 9     sure that we were talking about the same directory and         14:48:32
10     we were seeing the same thing but I don't know who             14:48:37
11     made this actually, this screenshot presented here.            14:48:40
12     BY MR. FURMAN:                                                 14:48:44
13            Q.   And if you look at the URL for the document        14:48:44
14     marked exhibit 3, it says: "uni-duisburg.de."      Which       14:48:49
15     university is that for?                                        14:48:55
16            A.   That's my university.                              14:48:57
17            Q.   Meaning your current university?                   14:48:59
18            A.   My current university, yes.                        14:49:01
19            Q.   It is my recollection that you didn't start        14:49:02
20     at that university until 2002; is that correct?                14:49:04
21            A.   Yes.                                               14:49:07
22            Q.   So, by that calculation, none of the files         14:49:09
23     could have been placed at the current URL as of the            14:49:14
24     dates that are listed on the left; is that correct?            14:49:16
25            A.   Yes.                                               14:49:19

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 16 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                               197
 1            Q.   So this is not an accurate representation of       14:49:21
 2     the way that the files were maintained as of the dates         14:49:23
 3     listed on the left; is that correct?                           14:49:26
 4                 MR. JAFFE:   Objection: mischaracterizes the       14:49:28
 5     witness's previous testimony.                                  14:49:31
 6                 THE WITNESS:   No, the point was that we           14:49:32
 7     moved the FTP server when I moved from Dortmund to             14:49:34
 8     Duisburg and we also moved physically some machines            14:49:43
 9     but, since the machines were in a new domain now, the          14:49:46
10     domain name changed but below the domain name                  14:49:52
11     everything else remained unchanged.                            14:49:57
12     BY MR. FURMAN:                                                 14:50:01
13            Q.   But you testified earlier that you had no          14:50:01
14     idea that FreeWAIS-sf source code was actually                 14:50:03
15     available on an FTP site, correct?                             14:50:07
16            A.   Yes, I did not recollect that, yes, were           14:50:10
17     available.                                                     14:50:15
18            Q.   So everything you're saying now about the          14:50:16
19     dates and how the dates were moved is actually                 14:50:17
20     speculation because you had no actual knowledge that           14:50:20
21     the software was available at this particular URL at           14:50:23
22     this particular FTP site; is that correct?                     14:50:26
23                 MR. JAFFE:   Objection: argumentative.             14:50:29
24                 THE WITNESS:   Well, I remember that we moved      14:50:32
25     all servers from Dortmund to Duisburg and the only             14:50:34

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 17 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                               198
 1     thing what I was not aware of was that the FTP server          14:50:39
 2     was still running at the present time.                         14:50:45
 3     BY MR. FURMAN:                                                 14:50:50
 4            Q.   So you don't know for sure that this FTP           14:50:50
 5     server, allegedly represented by the screenshot, is            14:50:52
 6     exactly the same FTP server --                                 14:50:55
 7                 MR. JAFFE:   Objection --                          14:50:57
 8     BY MR. FURMAN:                                                 14:50:57
 9            Q.   -- because you had no idea that the FTP            14:50:57
10     server was running at all, correct?                            14:50:59
11                 MR. JAFFE:   Objection: argumentative and          14:51:02
12     mischaracterizes the witness's previous testimony.             14:51:02
13                 THE WITNESS:   No, I'm quite sure that this        14:51:07
14     data can -- the fact that it is there, the only                14:51:10
15     explanation how it got there is really that we moved           14:51:15
16     all the servers when I moved from Dortmund to Duisburg         14:51:20
17     and then kept them running.                                    14:51:25
18     BY MR. FURMAN:                                                 14:51:28
19            Q.   Right but even that response that you gave         14:51:28
20     me now is based on speculation because you say the             14:51:30
21     only explanation, meaning you're surmising based on            14:51:35
22     what you see that it must have happened but you don't          14:51:39
23     know for a fact that the FTP server that is                    14:51:42
24     represented in this URL is actually the same FTP               14:51:45
25     server?                                                        14:51:48

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 18 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                               199
 1                 MR. JAFFE:   Same objections.                      14:51:49
 2     BY MR. FURMAN:                                                 14:51:51
 3            Q.   Is that correct?                                   14:51:52
 4            A.   What I know for a fact is that -- well,            14:51:52
 5     I told my people to move all servers from Dortmund to          14:51:55
 6     Duisburg University and that ten years later I see             14:52:02
 7     that they obviously did that.                                  14:52:09
 8            Q.   But between the time that you moved to             14:52:22
 9     Duisburg and now, you had no idea that this FTP server         14:52:24
10     was up and running?                                            14:52:28
11            A.   Yes.                                               14:52:29
12            Q.   Had you -- have you ever -- strike that.           14:52:30
13                 Prior to any communications you had with           14:52:33
14     Quinn Emanuel about the existence of this FTP server,          14:52:36
15     had you ever accessed the FTP server at Duisburg with          14:52:38
16     regards the FreeWAIS-sf?                                       14:52:46
17            A.   No.                                                14:52:49
18            Q.   So again it is just your maybe educated or         14:52:51
19     maybe strongly informed guess, but a guess                     14:52:54
20     nonetheless, that the information here comes from the          14:52:57
21     FTP server that was originally at University Dortmund,         14:53:02
22     correct?                                                       14:53:06
23                 MR. JAFFE:   Objection.   That's a statement,      14:53:07
24     not a question, and asked and answered and                     14:53:08
25     mischaracterizes the witness's previous testimony.             14:53:12

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 19 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                 200
 1                 THE WITNESS:   Well, the dates obviously show       14:53:16
 2     that this is the only way how you can create files              14:53:20
 3     with these dates, that they must have been created in           14:53:24
 4     my Dortmund time.                                               14:53:29
 5     BY MR. FURMAN:                                                  14:53:31
 6            Q.   But, again, you use the words "must have            14:53:32
 7     been"; so, again, you can't testify that you have               14:53:33
 8     actual knowledge that this FTP site represents the              14:53:36
 9     same FTP site that existed sted in the University of            14:53:39
10     Dortmund; is that correct?                                      14:53:42
11                 MR. JAFFE:    Objection: asked and answered         14:53:44
12     for the fifth time.      Also mischaracterizes the              14:53:45
13     witness's previous testimony and argumentative.                 14:53:53
14                 THE WITNESS:   So, yes, of course I cannot          14:53:59
15     imagine any other explanation.                                  14:54:09
16     BY MR. FURMAN:                                                  14:54:14
17            Q.   But again that is not -- you don't know for         14:54:15
18     sure, correct?                                                  14:54:17
19                 MR. JAFFE:    Objection: asked and answered         14:54:19
20     for the sixth time, argumentative and mischaracterizes          14:54:21
21     the witness's previous testimony and, at this point,            14:54:24
22     harassment when you ask the same question six times.            14:54:27
23                 MR. FURMAN:    I'll keep asking until I get an      14:54:32
24     answer.                                                         14:54:34
25                 MR. JAFFE:    The answer you want.   That's         14:54:35

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 20 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                 201
 1     harassment.   It's harassing the witness.                       14:54:36
 2                 MR. FURMAN:    So I'll ask again.                   14:54:39
 3     BY MR. FURMAN:                                                  14:54:41
 4            Q.   So you don't know for sure that this is the         14:54:41
 5     same FTP site that was available at the University of           14:54:43
 6     Dortmund?                                                       14:54:45
 7                 MR. JAFFE:    Same objections.                      14:54:47
 8                 THE WITNESS:   Well, if ... I'm quite sure          14:54:58
 9     that this is the same content of the FTP server.                14:55:05
10     BY MR. FURMAN:                                                  14:55:12
11            Q.   Even though previously you testified you had        14:55:13
12     no idea that this FTP server actually existed; is that          14:55:14
13     correct?                                                        14:55:17
14                 MR. JAFFE:    This is ridiculous.   This is the     14:55:18
15     eighth time you've asked the same question.      You're         14:55:19
16     argumentative, you're harassing the witness because             14:55:22
17     he's not giving you the question you want -- the                14:55:25
18     answer to the question.     If you want to attack him           14:55:26
19     later you can but this is the eighth time you've asked          14:55:29
20     the same question because you don't like his answer.            14:55:31
21     That's not acceptable.                                          14:55:35
22                 MR. FURMAN:    Are you done?                        14:55:37
23     BY MR. FURMAN:                                                  14:55:39
24            Q.   Can you answer the question, please?                14:55:39
25            A.   What was the question again, sorry?                 14:55:42

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 21 of 22
               VIDEOTAPED DEPOSITION OF NORBERT FUHR
                  CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                202
 1             Q.   So you had previously testified you had no        14:55:45
 2     idea that the FTP server hosting the FreeWAIS-sf               14:55:46
 3     source code actually existed; is that correct?                 14:55:50
 4             A.   Yes.                                              14:55:53
 5             Q.   So I -- you also testified that -- now you        14:55:56
 6     testified that you're certain that this is the FTP             14:55:59
 7     site.    So I'm just trying to understand how you can be       14:56:02
 8     certain that this is something that, up until                  14:56:04
 9     recently, you didn't even know existed?                        14:56:07
10                  MR. JAFFE:   Same objections: argumentative;      14:56:09
11     asked and answered; harassing the witness, and trying          14:56:12
12     to embarrass the witness at this point.                        14:56:16
13                  THE WITNESS:   As I said before, when I saw       14:56:20
14     this, I recollected that in 2002 we moved all the              14:56:25
15     servers from Dortmund to Duisburg, and most of them            14:56:30
16     physically, and so I'm quite sure that this is what            14:56:36
17     the original content of the FTP server at the                  14:56:42
18     specified time was.                                            14:56:49
19     BY MR. FURMAN:                                                 14:56:51
20             Q.   Do you know if you've been retained as an         14:56:51
21     expert witness in this litigation?                             14:56:53
22             A.   As an ...                                         14:57:00
23             Q.   Expert witness.   I will ask it.   Do you         14:57:02
24     know --                                                        14:57:03
25                  (Interpreter clarification in German.)            14:57:06

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Case 5:12-cv-00630-LHK Document 854-12 Filed 11/01/13 Page 22 of 22
             VIDEOTAPED DEPOSITION OF NORBERT FUHR
                CONDUCTED ON FRIDAY, JULY 12, 2013

                                                                203
 1     BY MR. FURMAN:                                                 14:57:09
 2            Q.   Let me ask that again.   Do you know if you        14:57:09
 3     have been retained as an expert witness in this                14:57:11
 4     litigation?                                                    14:57:14
 5                 (Interpreter clarification in German.)             14:57:19
 6                 THE WITNESS:   No, I don't know.                   14:57:29
 7     BY MR. FURMAN:                                                 14:57:33
 8            Q.   Have you ever seen a copy of any of the            14:57:33
 9     patents involved in this litigation?                           14:57:35
10            A.   Yes, I looked up this Apple patent from 2002       14:57:40
11     but only read through the claims.                              14:57:45
12            Q.   Meaning you did not read the body or the           14:57:50
13     specification of the patent; is that correct?                  14:57:53
14            A.   No, no, because the claims already looked          14:57:54
15     like a summary of all the research that my colleagues          14:57:57
16     in the U.S. and myself did in the '90s.     I thought,         14:58:02
17     well, this is ridiculous that they get a patent on             14:58:06
18     that what researchers have been working on through the         14:58:10
19     decade before.                                                 14:58:15
20            Q.   Are you a patent attorney?                         14:58:17
21            A.   No.                                                14:58:19
22            Q.   So having not seen the patent specification,       14:58:22
23     your understanding of how those terms were used in the         14:58:25
24     patent is just based on you reading the claims.                14:58:29
25     Strike that.                                                   14:58:34

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